                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )     Case No. 07-0007–CR-W-HFS
                                               )
RAYMOND W. ZWEGO, JR., et al.,                 )
                                               )
       Defendants.                             )


                                MEMORANDUM AND ORDER


       This prosecution involves an alleged attempt to defraud a lending agency in connection with

the sale of a residence in the Sunset Hill district of Kansas City owned by defendant Katheryn

Shields and her husband, Philip Cardarella. The alleged organizer of the fraudulent activity,

Raymond Zwego, is accused of creating a falsely inflated selling price by using straw-party buyers

(who were not expected to pay the mortgage loan) and a dishonest appraisal. The sellers, Shields

and Cardarella, were to receive their asking price of $707,000, while Zwego and his business would

pocket in excess of $400,000, most of the difference between the asking price and the inflated sales

price of $1,200,000.

       Defendant Shields has filed a motion to dismiss, contending that the indictment fails to allege

an offense by her.

       Shields is named in Count One as a co-conspirator. In the detailed recitation of alleged

facts, her husband, Cardarella, was purportedly alerted to the intention to use an unrealistically high

sales price some days before the signing of closing papers. Shields is alleged to have signed a “false

and fraudulent” document at closing, a “Settlement Statement”. That statement, however, accurately




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states the price agreed to by the defendant purchasers and the value vouched for by the appraisal.

It recites the much lower sum that sellers were willing to receive, and the highly inflated

“management fee” to be received by Zwego’s company. In essence, therefore, the document was

painfully candid rather than dishonest or false.

       In its brief in opposition to the motion to dismiss the Government contends the settlement

statement is false, however, in that it refers to a sales contract when there was no written contract.

The Government also relies on the general allegations that Shields joined the conspiracy at some

unspecified time.

       The additional charge against Shields is Count 12, a wire fraud charge, alleging use of fax

transmissions to consummate a fraudulent plan, and containing an aiding and abetting statutory

reference. There is no suggestion that Shields caused to be transmitted any fraudulent documents

signed by her. It may be inferred that, as an alleged party to the conspiracy, she is intended by the

Government to be held responsible for the misconduct of others who were working to obtain the

proceeds of the alleged fraud, in part for her benefit.

       I thus agree with defendant that there is nothing materially false or misleading in the

Settlement Statement. For one thing, the document Shields signed was not alleged to be intended

for the lender, the victim of the scheme, and was not, according to the briefing, actually sent to the

intended victim. This makes sense because, if the victim had been alerted to the $707,000 asking

price of the sellers, which necessarily reflects the maximum market value opinion of the sellers, one

may suppose that a prudent lender would refuse to make a loan greatly in excess of the figure.

Transmitting the signed document to the lender would clearly have been counter-productive. It was

not part of the fraud allegedly being perpetrated.


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       The Government’s contention that there was no “contract” between the sellers and buyers

because there was no signed writing is rebutted by the Government’s own theory in conspiracy cases

that an oral agreement or understanding between the co-conspirators is sufficient. A writing is not

needed. In any event, this quibble about a word that the victim was not to see is immaterial as a

matter of law. These conclusions do not, however, foreclose a successful prosecution.

       The parties have not briefed the aiding and abetting issue, but I do not consider it appropriate

to summarily disregard that allegation and rule for defendant. If the Government has adequate

proof, beyond a reasonable doubt, that Shields was aware of the inflated price and also that the price

was fraudulently established (rather than under some illusion of the buyers or the lender that the

property had what might be called “California values”) then it would seem she could be convicted

of belatedly joining the conspiracy and aiding or abetting the final phase of a known fraud, the

division of proceeds.

       Defendant Shields argues that the conspiracy had succeeded before her involvement at

closing on November 17, 2006. According to the allegations, the intended victim was persuaded

and gave tentative approval to loans on October 24, 2006, having been induced by five defendants,

but not Shields or Cardarella. Indictment, pp. 10-11. But the alleged conspirators’ plan would

necessarily continue until the proceeds were received and shared, and Shields had a hand in the

planned distribution.




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       Most obviously, although not pleaded, the signing of a deed by the sellers was necessary to

obtain the proceeds. For reasons stated below, I question whether the Government is entitled to use

this unpleaded theory in its case, but would leave that to the trial judge.1

       The pleading requirements in criminal cases go beyond the “notice pleading” that is adequate

in civil litigation. Rule 7(c) (1) of the Rules of Criminal Procedure requires “definite” allegations

of “facts” constituting the offense charged. While evidentiary details need not be pleaded, the

“essential facts” cannot be omitted. Conclusory legalistic pleading will not suffice. Often the law

is sufficiently factual in its articulation to allow use of statutory language, but the defendant is

entitled to know, quite definitely, what she is accused of doing.

       With eleven defendants, and a complex series of alleged misconduct, the Government has

attempted to comply with pleading requirements by filing an 18 page indictment. Defendant Shields

is named frequently, but vaguely, as an alleged co-conspirator. Her alleged role in misconduct is

specified in one place, paragraph 15ii, page 15, where it is said she “knowingly signed false and

fraudulent” documents, that is, a “Settlement Statement” and an “Assignment of Proceeds”

       The indictment contains no reference to signing a deed, at closing or at some other time. If

signing a deed to trigger payment of the loan proceeds is to be characterized as an overt act in aid

of the alleged fraud, the reader of the indictment would not be given notice of that contention. No

bill of particulars has been requested, to add details concerning the alleged misconduct, but a

Supreme Court decision rejects that procedure for supplementing an indictment. Russell v. United




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         Because of family responsibilities at home my availability at the courthouse is currently
limited to about five hours daily, including the lunch hour, which is insufficient for jury trials.

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States, 369 U.S. 749 (1962) (quoted in Wright, Federal Practice and Procedure, Crim. 3d §125, p.

581.)

        I note some apparent inconsistency in the Supreme Court rulings. A dissenter in Russell, 369

U.S. at 780, protested against using that ruling in general criminal law practice. Distinctly in point

in this case, moreover, is a Nineteenth Century ruling that aiding and abetting can be generally

alleged, without advising the defendant of what conduct is referred to. Coffin v. United States, 156

U.S. 432 (1894). That ruling apparently survives under the current Federal Rules. Ellis v. United

States, 321 F.2d 931 (9th Cir. 1963); United States v. Martin, 411 F. Supp. 2d 370, 375 (S.D.N.Y.

2006) For present purposes, I accept Coffin and Ellis, and necessarily reject the claim that the

indictment fails to allege adequate facts pertaining to aiding and abetting. Since it does not refer to

her execution of the deed the trial judge may be pulled in different directions if defendants contend

the Stewart opinion in Russell bars use of the unpleaded deed-signing event as part of an aiding and

abetting theory.2

        What is pleaded would probably suffice, for an aiding and abetting case, and therefore also

for the conspiracy case (where assisting the final phase of a known conspiracy would create co-

conspirator status)–but only if there is adequate proof of knowledge by Shields of fraudulent aspects

of the plan. The Settlement Statement, although not itself false or fraudulent, does given written

consent to distribution of the proceeds, and this was to be accomplished simply and directly by an

Assignment of Proceeds to Zwego’s company. This may not “aid” the alleged fraud, in the same

way as signing the deed would, but would doubtless qualify as “abetting” any known misconduct


        2
        I suppose it may be argued that even if the method of aiding and abetting in Count 12
and the list of overt acts in Count 1 need not be pleaded, the prosecutor cannot materially add to
what is volunteered in an indictment.

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of others. If Shields knew the transaction was fraudulent, therefore, I would suppose her

documented consent to the distribution in advance of the victim’s surrender of the proceeds would

create a submissible jury case under the wire fraud count and also the conspiracy count.

       The Shields motion to dismiss for failure to state a claim is therefore DENIED, without

prejudice to reconsideration on refiling, with further briefing on the issues of aiding and abetting.




                                              /s/ Howard F. Sachs
                                              HOWARD F. SACHS
                                              UNITED STATES DISTRICT JUDGE

May 1, 2007

Kansas City, Missouri




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